Case 1:01-cv-12257-PBS Document 6195-13 Filed 06/26/09 Page 1 of 12
   Case 1:01-cv-12257-PBS Document 6195-13 Filed 06/26/09 Page 2 of 12

Macey, Jonathan R. - Vol. II CONFIDENTIAL                   May 20, 2009
                                New York, NY

                                                                   259
      --------------------------------------------x

      UNITED STATES OF AMERICA, ex rel,

      VEN-A-CARE, FLORIDA KEYS, INC.,

                                 Plaintiffs,

                                 Case No. 07-10248

                    -against-

      BOEHRINGER INGELHEIM CORPORATION,

      et al.,

                                 Defendants.

      --------------------------------------------x



                                 May 20, 2009

                                 8:03 a.m.



                          CONFIDENTIAL

                Continued deposition of JONATHAN R.

      MACEY, taken at the offices of Kirkland & Ellis,

      Citigroup Center, 153 East 53rd Street, New York,

      New York, before Georgette K. Betts, a Certified

      Shorthand Reporter, Registered Professional

      Reporter and Notary Public within and for the

      States of New York and New Jersey.




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     Case 1:01-cv-12257-PBS Document 6195-13 Filed 06/26/09 Page 3 of 12

Macey, Jonathan R. - Vol. II CONFIDENTIAL                                                     May 20, 2009
                                            New York, NY
                                                                   4 (Pages 268 to 271)
                                                   268                                                       270
 1   Roxane. Not so much coordinate in the sense of do     1   practice in the United States is to have people
 2   things together, but get, you know, synergistic       2   receive a single paycheck. And in the particular
 3   benefits from working with each other, seeing how     3   context of these facts, it's my understanding that
 4   the other people work. So they are getting people     4   the companies involved, BIPI, RLI, Ben Venue, and
 5   performing the same functions in the same place I     5   BIC, actually had different pension plans such
 6   think -- so they could be monitored more easily,      6   that it would have been very difficult to take an
 7   so they would be evaluated better.                    7   employee, say Mrs. Waterer, whoever, and say,
 8       Q. Do you know whether Ms. Waterer and Ms.        8   well, you're going to be 80 percent allocated to
 9   Paoletti's job responsibilities changed in any way    9   Roxane and 20 percent allocated to Ben Venue and
10   following the January 1st, 2002 move to Cleveland?   10   you'll have -- 20 percent of your pension will be
11       A. Well, my recollection -- and this is why      11   here. It would create a truly human resources
12   I characterized this not -- you know, these people   12   administrative nightmare.
13   are moving location but they continue -- my          13           So it is my -- it is absolutely the case
14   understanding is they continued to work for Roxane   14   that while people wear many hats in corporations,
15   during this time while they were physically at the   15   it is -- I'm not aware of very many, if any,
16   Ben Venue corporate campus.                          16   situations where a company would, while having
17       Q. So you're not aware that their job            17   somebody wear two hats go to the sort of, kind of
18   responsibilities changed when they moved from one    18   extreme bureaucratic step of making some attempt
19   campus to the other campus?                          19   to, you know, give -- pay them two different
20       A. I don't recall that -- I assume that          20   paychecks, et cetera.
21   there were some changes just because that would be   21           So I think, you know, starting with the
22   natural, but my understanding is that they           22   premise that people can work for more than one

                                                   269                                                       271
 1   retained responsibility for -- they continued to    1     entity, if they work for more than one entity they
 2   do the same functions with respect to Roxane that   2     either have to be paid by one or both. And it's
 3   they previously had done.                           3     just inefficient to be paid by both and we don't
 4          It certainly would make sense in terms       4     observe that in the way business is conducted.
 5   of business justification for the move if there     5        Q. Are you aware whether any employees were
 6   were some, you know, change and expansion of their 6      paid by multiple entities within the Boehringer
 7   roles to provide even a better, you know,           7     Ingelheim family?
 8   efficiency justification for the move. I just       8        A. I looked for that and didn't find a
 9   don't recall offhand seeing that their              9     single case, even with respect to Mr. Gerstenberg
10   responsibilities expanded when they moved to       10     where there were -- people were getting multiple
11   Cleveland.                                         11     paychecks, I looked for that and I did not see it.
12       Q. Thank you.                                  12        Q. Where did you look to see who paid Mr.
13          In forming an opinion as to whether a       13     Gerstenberg's salary?
14   person acted as an agent of Roxane, did you        14        A. I looked -- there were a number of -- in
15   consider whether or not Roxane paid the employee's 15     a lot of these depositions I think you actually,
16   salary as a factor?                                16     you were asking the question where do people's
17       A. I certainly took that into account, but     17     paychecks come from, so I was looking for that
18   I had to weigh it against a few things. Number     18     question. I thought it was a good question and I
19   one, just in general there's no requirement for    19     was looking for it with respect to, you know, to
20   someone to act in an agency capacity that they     20     see were what the -- you know, what the answers
21   actually receive compensation. In fact, quite the  21     were because I would have been interested if
22   opposite. Number two, the overwhelming business 22        somebody -- I think we had different approaches,


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     Case 1:01-cv-12257-PBS Document 6195-13 Filed 06/26/09 Page 4 of 12

Macey, Jonathan R. - Vol. II CONFIDENTIAL                                                     May 20, 2009
                                            New York, NY
                                                                10 (Pages 292 to 295)
                                                   292                                                      294
 1      Q. Turn to paragraph 39 of your report,            1   processes, and methods.
 2   please.                                               2      Q. Do you know who drafted Roxane's board
 3          The heading above paragraph 39 reads,          3   resolutions, board minutes?
 4   "Roxane Adhered Conscientiously to Appropriate        4      A. No.
 5   Corporate Formalities."                               5      Q. Do you have an opinion as to whether
 6          And then paragraph 39 itself starts by         6   corporate formalities are usually followed in the
 7   saying --                                             7   context of corporate groups?
 8      A. Where was the formalities? I'm sorry.           8      A. There's a wide -- we observe a wide
 9      Q. Subheading B, right above paragraph 39.         9   range of behavior, but in well run companies that
10      A. Okay. Thank you.                               10   are well managed corporate formalities are
11      Q. So the paragraph itself starts:                11   generally adhered to. And when one gets down to
12          "In examining Roxane's internal               12   family corporations or smaller corporations, less
13   corporate governance, I focus on what I regard as    13   sophisticated firms, one sees variance. So
14   the three most important facets of organizational    14   there's definitely a range with respect to
15   form. These are: One, board composition, two,        15   adherence to corporate formalities.
16   board processes and methods, and three, board        16      Q. Is it fair to say that for a corporation
17   action."                                             17   the size of Roxane corporate formalities are
18          Do you see that?                              18   almost always followed?
19      A. Yes, I do.                                     19      A. Generally speaking, corporations with
20      Q. In this sentence by the use of the word        20   Roxane's resources and capitalization have
21   "board," are you referring to a corporation's        21   advisors who make sure that they follow corporate
22   board of directors?                                  22   formalities, yes.
                                                   293                                                      295
 1      A. Yes.                                            1          MR. FAUCI: You want to take a five-
 2      Q. Are these three topics the most                 2   minute break? I'm at a very natural breaking
 3   important considerations in evaluating whether or     3   point.
 4   not to pierce a corporation's veil?                   4          MS. RIVERA: Sure.
 5      A. No.                                             5             (Recess.)
 6      Q. What do you regard these three topics as        6   BY MR. FAUCI:
 7   the most important factors to?                        7      Q. Professor Macey, in paragraph 50 of your
 8      A. Okay. So yesterday we talked about              8   report, you state that you examined Roxane's
 9   various factors that might be involved in a           9   capitalization as the indicator of whether Roxane
10   decision to pierce the corporate veil and we         10   managed its business and operated as a separate
11   talked about the issue of corporate formalities,     11   business entity.
12   which I said was a factor but not a particularly     12          What is capitalization?
13   important factor -- not an overwhelmingly            13      A. Capitalization essentially refers to the
14   important factor but a factor that people should     14   equity of the firm. That is to say, the amount
15   take into account. And the reason for this is        15   that the firm has when the liabilities are
16   because information about corporate formalities      16   subtracted from the firm's assets.
17   provides data about whether the corporation is an    17      Q. Why is capitalization or how is
18   actual entity separate and distinct from other       18   capitalization an indicator of whether a
19   entities.                                            19   corporation operated as a separate entity?
20          And so here what I'm saying is that in        20      A. Well, corporations, generally speaking -
21   terms of the issue of corporate formalities, the     21   - and in dramatically varying degrees firm to
22   most important facets are board composition, board   22   firm, require funds to operate. And


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     Case 1:01-cv-12257-PBS Document 6195-13 Filed 06/26/09 Page 5 of 12

Macey, Jonathan R. - Vol. II CONFIDENTIAL                                                      May 20, 2009
                                            New York, NY
                                                                 11 (Pages 296 to 299)
                                                   296                                                       298
 1   capitalization is one indication, not the only but    1      Q. Was the first step actually measuring
 2   one indication of the capacity of a firm to           2   Roxane's level of capitalization?
 3   operate sort of under its own steam, if you will.     3      A. Yes.
 4       Q. You formed an opinion in this case that        4      Q. And what documents did you consider in
 5   Roxane was sufficiently capitalized, correct?         5   doing that?
 6       A. Yes, that's correct.                           6          I believe you said balance sheets and
 7       Q. Did you evaluate Roxane's capitalization       7   profits and loss sheets. Was there any types of
 8   at the time of its incorporation?                     8   documents you looked at in measuring Roxane's
 9       A. Well, I didn't look -- I didn't find any       9   capitalization?
10   specific balance sheets relating to the initial      10      A. I certainly looked at Jim McIntyre's
11   capitalization. I did look into the history of       11   deposition testimony because he was an accountant
12   Roxane and -- let me see if I can refresh my         12   and a financial -- who had kind of lived with the
13   recollection.                                        13   financial condition of Roxane to see if he had
14          So the firm was formed in 1885 as a           14   anything to say. It was sort of inconsistent with
15   company called Columbus Pharmacal. I had no          15   what I was saying.
16   financial information from that date, although I     16          I'm trying -- there may have been other
17   do know as a matter of my historical research and    17   documents that I looked at, but those were my sort
18   expertise that in 1885 there was -- it would have    18   of most important touchstones.
19   been impossible legally to form a corporation        19      Q. Are you an accountant?
20   without adequate capitalization.                     20      A. I'm not a CPA, no.
21          Then we have the purchase of the company      21      Q. Do you consider yourself to have
22   in 1959 when the firm's name was changed to          22   expertise in accounting?

                                                   297                                                       299
 1   Phillips Roxane and then the acquisitions by        1         A. Yes. I have been qualified as a member
 2   Boehringer Ingelheim in '78 that the corporate      2     of the board of a public company as someone who is
 3   history that I reviewed was consistent with the     3     knowledgeable about accounting. I'm not an
 4   firm being well capitalized when it was formed and  4     accounting expert.
 5   well capitalized up until at least, obviously, the  5         Q. Which company is that?
 6   time at which the analysis in my report begins.     6         A. This is WCI Communities, where I serve
 7      Q. Did you also evaluate Roxane's level of       7     on the audit committee.
 8   capitalization over time?                           8         Q. What are your responsibilities there?
 9      A. Yes.                                          9         A. Well, I'm on the corporate governance
10      Q. What steps did you take to evaluate          10     committee and the audit committee. My
11   whether Roxane's level of capitalization was       11     responsibilities include hiring and firing the
12   sufficient?                                        12     company's auditors, reviewing the company's
13      A. I'm sorry.                                   13     financial statements, reviewing press releases
14      Q. What steps did you take to evaluate          14     related to financial information, making sure that
15   whether Roxane's level of capitalization was       15     the -- having general oversight responsibility for
16   sufficient?                                        16     ensuring that the financial statements of the
17      A. Essentially what I did was to examine        17     company are presented fully and fairly and in
18   the company's balance sheets and profit and loss   18     accordance with the appropriate accounting
19   statements to determine whether or not the company 19     principles.
20   had been -- had adequate levels of capitalization  20         Q. You said you were qualified -- they
21   and had resources to pay its debts as they came    21     qualified you as --
22   due in the ordinary course of business.            22         A. Correct.


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     Case 1:01-cv-12257-PBS Document 6195-13 Filed 06/26/09 Page 6 of 12

Macey, Jonathan R. - Vol. II CONFIDENTIAL                                                     May 20, 2009
                                            New York, NY
                                                                12 (Pages 300 to 303)
                                                  300                                                        302
 1       Q. -- as what? I'm sorry.                         1   detailed and they included -- they had, you know,
 2       A. As -- I forget the exact terminology but       2   a different -- let me see if I can recall.
 3   under the Sarbanes-Oxley Act and as well as stock     3          So the other documents, my recollection
 4   exchange rules, public company boards of directors    4   is, had a piece -- a page it was called the
 5   are required to make determinations about the         5   balance sheet, which this does not appear to have.
 6   accounting capabilities of the members of its         6   And it had a page that was -- several pages and
 7   audit committee. And at least one member of the       7   then it had some backup documentation. Then it
 8   audit committee has to be a financial expert.         8   had also -- the two critical financial documents
 9           I'm not the financial expert on an audit      9   for a business are the balance sheet and the
10   committee, but I am a member of the audit            10   income statements. And this -- I looked at the
11   committee who's been qualified to serve.             11   balance sheet and the income statements, which
12               (Whereupon, Roxane Laboratories          12   would be the balance sheet and the profit and loss
13   Unanimous Written Consent of Directors, Bates-       13   statements that I referred to in footnote 16 of my
14   stamped BOEH04600159 through 167, was marked as      14   report.
15   Exhibit Macey 015 for identification, as of this     15       Q. If you turn to page 10 of this document
16   date.)                                               16   --
17       Q. I'm introducing as Exhibit 15 a Roxane        17       A. Okay.
18   Laboratories Unanimous Written Consent of            18       Q. -- you see that it's labeled "Statement
19   Directors.                                           19   of Financial Position"?
20           If you look at the first heading or          20       A. Yes.
21   first indentation it says:                           21       Q. Is this different than a balance sheet?
22           "Resolved, that the year-end closing for     22       A. My recollection is -- as I say, I
                                                  301                                                        303
 1   1995 be and it hereby is approved and the balance     1   referred actually as I mentioned in the report to
 2   sheet and profit loss statement of this               2   the balance sheets of the company. The difference
 3   corporation as of December 31st, 1995 be and that     3   between a statement of financial position and a
 4   hereby are ratified and adopted in the form           4   balance sheet is, generally speaking, a
 5   attached."                                            5   corporation will have a fiscal year, so the board
 6          If you look through this document, are         6   of directors will determine a fiscal year that
 7   these the balance sheets and profits and loss         7   will begin on a certain date and end on another
 8   sheets that you were referring to earlier?            8   date and a balance sheet will give -- will provide
 9       A. I looked at two sets of documents. This        9   a statement of the financial condition, a kind of
10   is one set of documents. I mean this would be --     10   snapshot picture of the financial condition of the
11   for a particular year, there were two sets of        11   company as of that particular date.
12   documents and one was -- were these financial        12          The statement of financial position will
13   statements appended to the Roxane unanimous          13   not be as detailed as the balance sheet and may
14   written consents. But there were also -- there       14   not -- and its date may or may not -- may but may
15   was also -- there were also other financial          15   not necessarily correspond to the actual fiscal
16   reports that I reviewed. So I basically had two,     16   year of the company.
17   hopefully reconcilable, sets of financial reports    17       Q. Do you see that this -- if you turn to
18   for each year.                                       18   the first page.
19       Q. What did the other sheets look like to        19       A. First page.
20   the best of your recollection?                       20       Q. Do you see that it in the first resolved
21       A. Well, they were not appended to               21   it talks about the balance sheet and profit loss
22   unanimous written consents. They were more           22   statement of this corporation?


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     Case 1:01-cv-12257-PBS Document 6195-13 Filed 06/26/09 Page 7 of 12

Macey, Jonathan R. - Vol. II CONFIDENTIAL                                                      May 20, 2009
                                            New York, NY
                                                                 14 (Pages 308 to 311)
                                                   308                                                       310
 1   to looking at Roxane's capitalization?                1   there will be a company, a trucking company and
 2       A. In a business this complex, you have --        2   the trucking company will be involved in some sort
 3   this is really a -- would be a, you know, year's      3   of litigation, maybe there's a truck wreck, maybe
 4   long process of investigation because we could        4   there's a product liability, whatever, and the
 5   imagine you have, for example, suppose the            5   company may have been insolvent at the time of the
 6   business owns a car, so you'd have to look at         6   event. And so we then look at the whether or not
 7   whether -- what are the state law rules in which      7   the company -- the corporate veil should be
 8   that car operates with respect to insurance, what     8   pierced. And the answer is it depends on what --
 9   about the licensing for the drivers, what about       9   in part something that's going to influence the
10   trucking.                                            10   answer is whether or not the company was
11          With respect to every contract that the       11   undercapitalized at the time of the event. And if
12   company has there may be requirements with respect   12   the company, say, had negative equity but it had
13   to insurance that are just part of the bilateral     13   $382 million in insurance to cover the accident,
14   contract between a buyer and a seller. If the        14   then the corporate veil will not be disregarded,
15   contract involves shipping -- there obviously were   15   the company will be considered to be adequately
16   in this case requirements for dealing with certain   16   capitalized.
17   government agencies with respect to licensing to     17          And so in this analysis, if somebody --
18   sell products and getting permissions in these       18   that, you know, in this analysis I didn't see any
19   various NDAs and there may have been, you know,      19   claims against Roxane that were -- you know, that
20   requirements related to that.                        20   had been launched for which, you know, they didn't
21          So there would be hundreds and hundreds       21   have available -- insurance to the extent that it
22   of these sorts of things. And I took what is a       22   was available.

                                                   309                                                       311
 1   standard of -- the universally standard assumption    1       Q. Do you know how much insurance Roxane
 2   of somebody doing the analysis that I was doing,      2   had?
 3   which was that in a business like this the            3       A. No.
 4   regulators will -- are monitoring this and will       4       Q. Do you know whether Roxane had any
 5   let you know if the company is not maintaining its    5   insurance that would be relevant to the potential
 6   licensing, the insurance people will send forms so    6   liability in this case?
 7   you know if they are not complying with these         7       A. It was my assumption in this analysis
 8   requirements.                                         8   that these -- the litigation damages claims would
 9       Q. I believe you testified, though, that          9   not be -- would not be insurable.
10   under these requirements there might be certain      10       Q. Does the standard for what constitutes
11   amounts of insurance or bonds that a corporation     11   sufficient capitalization vary from industry to
12   would have that would be relevant to its             12   industry?
13   capitalization, correct?                             13       A. It varies from firm to firm. It varies
14       A. Correct.                                      14   depending on context. But, yes, yes, it does also
15       Q. Do you have an opinion as to whether          15   vary from industry to industry.
16   Roxane in its compliance with these regulations      16       Q. Are you aware of a standard for what
17   and licensures had a certain amount of insurance     17   constitutes sufficient capitalization in the
18   or bonds that were relevant to the capitalization    18   pharmaceutical industry?
19   of a corporation?                                    19       A. Yes. In teaching corporations, I -- one
20       A. Yes. Let me -- I may not -- and I             20   of the things I teach is -- talked about is
21   apologize if I'm not being clear on this. So --      21   capitalization on an industry-by-industry basis,
22   this comes up a lot and the way this comes up is     22   so the pharmaceutical industries is one of the


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     Case 1:01-cv-12257-PBS Document 6195-13 Filed 06/26/09 Page 8 of 12

Macey, Jonathan R. - Vol. II CONFIDENTIAL                                                      May 20, 2009
                                            New York, NY
                                                                15 (Pages 312 to 315)
                                                   312                                                       314
 1   industries that I've looked at from the standpoint    1   industry?
 2   of appropriate capitalization.                        2      A. In my view, what one should do is -- so
 3      Q. Have you written on that issue?                 3   the answer to that question is both yes and no.
 4      A. No -- oh, not specifically on                   4   That is to say, for each firm it's possible to
 5   pharmaceutical industry capitalization.               5   determine whether that firm is adequately
 6      Q. Have you written on the issue of                6   capitalized. But in pharmaceutical industry firms
 7   capitalization on an industry-by-industry basis       7   are in -- you know, do different things.
 8   generally?                                            8         So, you know, one could take the
 9      A. I believe that I have written -- I              9   industry average as a benchmark and then look at,
10   believe I made the point I made to you a moment      10   you know, the specific features and
11   ago, Mr. Fauci, that is that capitalization is       11   characteristics related to a particular firm that
12   something that will -- is -- varies and is           12   relate to levels of capitalization. So it may be
13   relevant on a firm-to-firm basis.                    13   that a firm will have certain characteristics that
14          I've taught it. Whether I wrote it down       14   allow it to have much lower -- much, much greater
15   in an article I believe that that would probably     15   debt in relation to equity than other firms or,
16   appear somewhere in my writing.                      16   alternatively, you might expect other firms
17      Q. Do you have an -- what is the standard,        17   depending on certain inherent characteristics to
18   then, for what constitutes sufficient                18   have higher. So you want to look a firm on a
19   capitalization in the pharmaceutical industry?       19   firm-by-firm basis.
20      A. Well, I want clear up my previous              20      Q. What is the benchmark in the
21   testimony. I think that question evinces maybe       21   pharmaceutical industry?
22   that I wasn't precise enough in my previous          22      A. So the benchmark in the pharmaceutical

                                                   313                                                       315
 1   answer.                                               1   industry is generally lower than 10-to-1. It
 2          What we have data about is what the            2   would be in the 5 to 10-to-1 debt-equity ratio
 3   actual -- people have looked at industries like       3   range is my recollection.
 4   the pharmaceutical industry or the investment         4          MR. FAUCI: Let's introduce 16.
 5   banking industry and they say here's the average,     5             (Whereupon, Article written by
 6   you know, debt-equity ratio, here are averages of     6   Professor Macey titled "Commercial Banking and
 7   levels of capitalization within a particular          7   Democracy: The Illusive Quest for Deregulation",
 8   industry. What has been pointed out in the            8   was marked as Exhibit Macey 016 for
 9   literature is that it's -- one certainly may draw     9   identification, as of this date.)
10   the inference, and as a matter of practice experts   10       Q. This is an article that you wrote called
11   typically draw the inference that that's what's      11   "Commercial Banking and Democracy: The Illusive
12   okay. But the argument has been made specifically    12   Quest for Deregulation," published in the Yale
13   obviously with respect to financial institutions     13   Journal on Regulation in the winter of 2006.
14   recently that have had 30, 50, 60-to-1 debt-equity   14          I'm going to ask you a very quick
15   ratios that maybe the industry average is not the    15   question about a very small section of this, but
16   proper benchmark.                                    16   if you want to familiarize yourself --
17          So that it's an area of -- you know,          17       A. Okay. Hopefully it won't take long for
18   it's an area of analysis that's in a little bit of   18   me to familiarize myself with this.
19   flux.                                                19          Do you want to direct me to where you
20       Q. That being said, is there a standard          20   are and I'll see if I can back up?
21   that you are aware of for what constitutes           21       Q. Sure. I'm looking at the internal page
22   sufficient capitalization in the pharmaceutical      22   3, so page 4 of 24 on the top.


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     Case 1:01-cv-12257-PBS Document 6195-13 Filed 06/26/09 Page 9 of 12

Macey, Jonathan R. - Vol. II CONFIDENTIAL                                                     May 20, 2009
                                            New York, NY
                                                                16 (Pages 316 to 319)
                                                   316                                                       318
 1       A. Okay.                                          1   to kind of prevent themselves -- to prevent them
 2       Q. I'm looking at the paragraph under the         2   from being susceptible to bank runs.
 3   subheading "A, Core Characteristics of Banking."      3       Q. I believe you testified that the
 4       A. Right.                                         4   benchmark -- I'm sorry, I don't recall we can
 5       Q. There you write, the third sentence, "On       5   either have the court reporter read it back or you
 6   average well-capitalized banks have debt-equity       6   can tell me again.
 7   ratios of 10:1 as opposed to the 1:1 debt-equity      7       A. Okay.
 8   ratios typical of nonfinancial firms."                8       Q. What is the benchmark in the
 9          Do you see that?                               9   pharmaceutical industry?
10       A. Yes.                                          10       A. Well, there's a range, of course, of
11       Q. As you sit here today, do you agree that      11   firms but you would see ranges in the 5-to-1 to
12   a 1-to-1 debt-equity ratio is typical of             12   10-to-1 range would not be unusual.
13   nonfinancial firms?                                  13       Q. What is that standard based on?
14       A. This is -- the context here is these are      14          What is your understanding of that
15   nonfinancial firms that compete with banks like      15   standard based on?
16   mutual funds, but yes.                               16       A. It's based on looking at pharmaceutical
17          Actually rephrase that. At the time           17   firms and looking -- and computing averages.
18   this was I think more or less correct certainly      18       Q. Have you done that?
19   for looking now these numbers are vastly different   19       A. Have I personally done it?
20   or were that debt-equity ratios of banks is now 30   20       Q. Yes.
21   or 40-to-1. And debt-equity ratios of the            21       A. No.
22   nonfinancial firms I'm talking about in this         22       Q. But you read where that's done
                                                   317                                                       319
 1   context, which are nonfinancial firms that compete    1   elsewhere?
 2   with banks, it would be probably more like the ten    2       A. Correct.
 3   to 12-to-1.                                           3       Q. Can you think of an article that -- off
 4       Q. So just so I'm clear on this, when you         4   the top of your head that does that?
 5   refer to nonfinancial firms in this article,          5       A. Not off, no.
 6   specifically in the paragraph we just were talking    6       Q. The ratio, the benchmark you cited, do
 7   about, what types of firms are you referring to?      7   you have an opinion as to whether that benchmark
 8       A. So in the context of this article, what        8   is larger as we sit here today than it would have
 9   I'm talking about is the basic competition between    9   been 1995?
10   banks and nonbank forms of business enterprise.      10       A. Oh. No. No.
11   If banks -- which are characterized by insured       11       Q. No, you don't have an opinion?
12   deposits and loans, then you have money market       12       A. Correct. I will say -- I don't have a
13   mutual funds which have a deposit-like feature       13   specific opinion. I will add, though, that these
14   because you can have, you know, write checks and     14   are fairly stable over time in general, although
15   use the ATM card. But they don't lend money, they    15   this may have been a hot time of higher
16   take the money and put the money in money market     16   volatility. I would add, to the extent that they
17   instruments. And those money -- that, as I think     17   vary, it's more likely that higher debt-equity
18   I talked about in this article certainly in          18   ratio rather than lower would have been tolerated.
19   others, there is an exact match not only in the      19       Q. In the past?
20   debt-equity ratio but there's also a -- you know,    20       A. Well, in that period. Not in all of the
21   in the term structure of the assets and              21   past, but in 2005 versus, say, right now.
22   liabilities so that -- you know, because when --     22       Q. I'm sorry, 1995.


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     Case 1:01-cv-12257-PBS Document 6195-13 Filed 06/26/09 Page 10 of 12

Macey, Jonathan R. - Vol. II CONFIDENTIAL                                                      May 20, 2009
                                             New York, NY
                                                                17 (Pages 320 to 323)
                                                   320                                                       322
 1       A. In 1995, right.                                1       A. Let me see.
 2       Q. Did you compare Roxane's level of              2          Yes.
 3   capitalization to that of other pharmaceutical        3       Q. How would you do that?
 4   companies?                                            4       A. I would take the total liabilities of 42
 5       A. Not specific other ones, no, just              5   million 954 and compare it to the total
 6   specific industry average.                            6   shareholders' equity of 101298, and then I would
 7       Q. And you did in forming your opinions in        7   fiddle with a fraction to get the lower -- get the
 8   this case compare Roxane's capitalization to the      8   lowest ratio. In other words, I would -- then I
 9   industry average, the industry benchmark?             9   would try to just, you know, reduce the fraction
10       A. Right.                                        10   by, you know, reducing the numerator and the
11       Q. And your understanding of the industry        11   common -- and numerator and the denominator by
12   benchmark is based on your review of other           12   common amounts.
13   literature in the field which has articulated that   13       Q. By that you mean just simplify the
14   benchmark?                                           14   fraction.
15       A. Yes, that's my recollection of what the       15       A. Right, thank you, simplify the fraction.
16   benchmark is.                                        16          So it would be 42 million 954 debt, 101
17       Q. And as you sit here today, there's no         17   million 298 equity.
18   authority you could point me to for the benchmark,   18       Q. In paragraph 62 of your report, the very
19   specific authority?                                  19   last sentence, you write, "Roxane's debt-equity
20       A. Correct.                                      20   ratio was reasonable."
21       Q. What is a debt-to-equity ratio?               21          Do you see that?
22       A. A debt-to-equity ratio is simply the          22       A. Not yet -- yes, I do.

                                                   321                                                       323
 1   ratio of the amount of debt that a company has to     1       Q. Did you calculate Roxane's debt-to-
 2   the amount of equity that it has.                     2   equity ratio for various points in time?
 3         So if we imagine a company with a               3       A. Yes.
 4   hundred dollars in assets, $50 in debt, and $50 in    4       Q. What periods of time did you consider?
 5   equity, we reach the 50-dollar in equity figure       5       A. Well, the period of time that I looked
 6   because the hundred dollars in assets minus the       6   at here was 2002 -- let me just check but I think
 7   $50 in liabilities equals $50 equity. Since the       7   it was 2002 to 2005.
 8   firm now has $50 in debt and $50 in equity, that      8          1995 to 2005.
 9   firm's debt-to-equity ratio would be 1-to-1 by way    9       Q. Are there written notes that reflect
10   of example.                                          10   your calculations?
11      Q. Is debt the same thing as liability?           11       A. No.
12      A. Well...                                        12       Q. How did you make the calculations?
13      Q. I can focus this for you a little if you       13       A. I just did them on a calculator.
14   want.                                                14       Q. And so for the 1995 time frame, the
15      A. Okay.                                          15   calculation that you did would have been
16      Q. Why don't we go back to Exhibit 15, that       16   essentially what we just walked through, comparing
17   statement of financial position.                     17   the liabilities to the equity and finding a
18      A. Okay.                                          18   fraction therefrom?
19      Q. Which is page 10 of Exhibit 15.                19       A. Sitting here right now that's my -- wait
20      A. Okay.                                          20   let me -- yes, I believe that's correct.
21      Q. Can you calculate a debt-to-equity ratio       21       Q. You may have answered this without me
22   based on this document?                              22   fully even getting it, so I'll just ask it again.


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     Case 1:01-cv-12257-PBS Document 6195-13 Filed 06/26/09 Page 11 of 12

Macey, Jonathan R. - Vol. II CONFIDENTIAL                                                     May 20, 2009
                                            New York, NY
                                                                20 (Pages 332 to 335)
                                                   332                                                       334
 1   different from a loan from a bank?                    1   the affiliate, you know, is able to weather stormy
 2       A. Well, it's -- to be as simple as I can,        2   times and continue on as a viable business because
 3   this is not maybe -- this may lose some subtlety,     3   by definition, as I say in the report, the idea of
 4   but I think it will make the point clear, a loan      4   having these corporate groups is there are
 5   from a subsidiary -- and I'm not talking here now     5   synergies but among the various companies if one
 6   about Roxane, I'm talking about, generally            6   subsidiary fails or is unable to obtain capital or
 7   speaking, loans from subsidiary is different from     7   loans, et cetera, then, obviously, the other
 8   a loan from a bank for in much the same way that      8   subsidiaries in the holding company or parent lose
 9   somebody who obtains a loan from one's uncle is       9   those -- no longer can avail themselves of those
10   different than obtainin a loan from a bank. That     10   synergies.
11   is, it could be worse. The uncle could be really     11          MR. FAUCI: I think if we take a five
12   mean and assiduously require all sorts of, you       12   minute break I can be done for the next break.
13   know, atrocious terms, et cetera. But it also is     13          MS. RIVERA: Great.
14   the case that it could be the uncle could be more    14             (Recess.)
15   understanding about late payments, will have         15             (Whereupon, Invoice from Professor
16   greater degree of identification and empathy and     16   Macey, was marked as Exhibit Macey 017 for
17   if the person who's borrowed money from their        17   identification, as of this date.)
18   uncle needs another loan, and goes to a bank and     18   BY MR. FAUCI:
19   says, gee, I need a loan, they say, well, you have   19      Q. Welcome back, Professor Macey.
20   this other loan and they say -- that it's easier,    20      A. Thank you, Mr. Fauci.
21   it's more likely than in the case of the affiliate   21      Q. Just in the way of housekeeping, I would
22   loan that the borrower can say I can get my uncle    22   ask if you're able to find the article that we
                                                   333                                                       335
 1   or I can get my affiliate company to agree to         1   were talking about that supports the benchmark we
 2   subordinate, to give you priority in repayment.       2   discussed for average debt-equity ratios?
 3   Whereas if it were a loan from a third party -- it    3       A. Certainly.
 4   likely will say forget it, I want to maintain my      4       Q. If Maria could send that to us, that
 5   priority.                                             5   would be great.
 6       Q. If a lending affiliate is more forgiving       6       A. Okay.
 7   in loan terms to a member of its same corporate       7       Q. One more bit of housekeeping, let's just
 8   group than it would be to a third party, is that a    8   introduce -- it's already been premarked Exhibit
 9   factor suggesting that the companies are not fully    9   17. Which is the second invoice.
10   independent?                                         10           Is this --
11       A. What's relevant in that standpoint is         11           MS. RIVERA: Can I get a copy, Jeff?
12   you want to see are the loans documented, is there   12           MR. FAUCI: Sure.
13   a business reason. Generally speaking, in a -- so    13       Q. Is this a true and accurate copy of the
14   generally speaking, the answer is no because if      14   -- of your most up-to-date invoice in this
15   I'm a subsidiary of a company, it often is for       15   litigation?
16   many reasons really bad for my business if a         16       A. Yes.
17   related subsidiary finds itself in financial         17       Q. Quickly directing your attention to the
18   distress. And so I have an extremely strong          18   actual invoice, seven entries down under work
19   personal interest in -- to the extent -- up to a     19   performed it says "legal capital calculations"?
20   certain point, obviously you don't want to throw     20       A. Yes.
21   good money after bad but up to a certain point you   21       Q. Those -- I just want to understand what
22   want to do everything you can to make sure that      22   that involved. Can you just describe how you made


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     Case 1:01-cv-12257-PBS Document 6195-13 Filed 06/26/09 Page 12 of 12

Macey, Jonathan R. - Vol. II CONFIDENTIAL                                                      May 20, 2009
                                            New York, NY
                                                                 21 (Pages 336 to 339)
                                                   336                                                       338
 1   those calculations one more time.                     1       Q. What other things?
 2      A. Certainly, of course.                           2          MS. RIVERA: All the things he just
 3          So this involved several things. In            3   said.
 4   fact, I will say that having looked back myself at    4       A. The other things --
 5   this particular item, I don't believe -- I believe    5       Q. I can try and be more precise then.
 6   that it may have taken me longer than two and a       6          What other actual calculations did you
 7   quarter hours, but it is what it is on the time       7   do?
 8   sheet.                                                8       A. So I did the calculations described in
 9          So this involved the following things:         9   paragraph 54, meaning I computed an average of the
10          One, I looked at every year in the -- in      10   retained earnings of the company from 1995 to
11   this time frame that I discussed previously with     11   2005. And I computed an average of the dividend
12   respect to capitalization. I looked at whether       12   payments between 1995 and 2005.
13   there had been any incursions on the initial         13       Q. In calculating debt-equity ratios, you
14   capitalization of the firm, which is -- reflects     14   compared liabilities as reflected in balance
15   on the balance sheet as the term paid-in capital.    15   sheets against assets -- against the equity as
16   There is also another amount of capital called       16   reflected in the balance sheet?
17   capital surplus, which is the amount that            17       A. Yes.
18   shareholders have paid in to the company above the   18       Q. Why did you look -- what is the
19   amount of the stated capital amount. And then a      19   relevance of the fact that Roxane never intruded
20   third thing that I looked at was I looked at         20   upon, for a lack of a better word, its initial
21   retained earnings.                                   21   paid-in capital and its additional paid-in
22          So put it differently, from an                22   capital?

                                                   337                                                       339
 1   accounting or a legal capital point of view,          1       A. Well, there's a very conservative theory
 2   capitalization point of view, a firm's capital can    2   -- there are people who have taken the view that
 3   be divided into basically three categories; stated    3   that amount -- and other people disagree with but
 4   capital, capital surplus, and retained earnings.      4   there are people who take the view that those sums
 5   So I looked at all three of those what are known      5   are considered to be the basic capitalization for
 6   as capital accounts and then I -- you know, as we     6   the firm on which a firm should not encroach.
 7   talked -- and then I did the things we talked         7          I believe that to be the case for stated
 8   about earlier, looked at debt-equity ratios, and      8   capital. It's generally not the case for
 9   dividend payment policy, and et cetera.               9   additional paid-in capital, which is sometimes
10       Q. Is capital surplus the same as                10   referred to as capital surplus. But to the extent
11   additional paid-in capital?                          11   that some people are of that view, then I take the
12       A. Yes.                                          12   view, you know, at least in looking at it, knowing
13       Q. When you looked at retained earnings,         13   that there are people who take that view, I wanted
14   the actual calculations that you performed, were     14   to see, you know, if somebody taking that
15   those measuring the liabilities that show up in      15   perspective would be concerned. And the answer
16   the balance sheet against the assets in the          16   would be they would not be because Roxane never --
17   balance sheet?                                       17   didn't encroach or diminish the amount of its
18       A. Yes, I think that's -- I'm not quite          18   initial paid-in capital or its capital surplus.
19   sure if I understand the question, but I believe -   19   It always stayed the same.
20   - I certainly what I did involved that. I think      20       Q. In evaluating Roxane's capitalization in
21   there may have been other things that I did, but     21   2000, is looking at whether or not it encroached
22   yes.                                                 22   upon its initial paid-in capital and its


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